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11
     Attorneys for Plaintiff and Counterclaim-Defendant Apple Inc.
12
                               UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION
14
     APPLE INC., a California corporation,             CASE NO. 12-cv-00630-LHK (PSG)
15
                           Plaintiff,                  APPLE INC. ’S ADMINISTRATIVE
16                                                     MOTION TO FILE DOCUMENTS
            v.
17                                                     UNDER SEAL (APPLE INC.’S MOTION
     SAMSUNG ELECTRONICS CO., LTD., a                  FOR PARTIAL SUMMARY
18   Korean corporation; SAMSUNG                       JUDGMENT)
     ELECTRONICS AMERICA, INC., a New
19   York corporation; and SAMSUNG
     TELECOMMUNICATIONS AMERICA,
20   LLC, a Delaware limited liability company,

21                         Defendants.

22   SAMSUNG ELECTRONICS CO., LTD., a
     Korean corporation; SAMSUNG
23   ELECTRONICS AMERICA, INC., a New
     York corporation, and SAMSUNG
24   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,
25
                   Counterclaim-Plaintiffs,
26          v.

27   APPLE INC., a California corporation,

28                 Counterclaim-Defendant.


     APPLE’S MOTION TO SEAL ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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1           In accordance with Civil L.R. 7-11 and 79-5, and General Order No. 62, Apple Inc.

2    (“Apple”) hereby moves this Court for an order to seal:

3           1.      Portions of the confidential, unredacted version of Apple Inc.’s Motion for

4                   Partial Summary Judgment;

5           2.      Portions of the confidential, unredacted versions of Exhibits D-1 and E-6 to the

6                   Declaration of Jennifer J. Rho (“Rho Declaration”);

7           3.      Exhibits A-1, A-2, B-1, B-2, B-3, B-4, B-5, C-1, C-2, C-4, C-5, C-6, D-2, E-4,

8                   E-5, E-6, and E-7 to the Rho Declaration; and

9           4.      Exhibits 1 to 3 to the Declaration of Andrew Cockburn (“Cockburn

10                  Declaration”).

11          Item numbers 1, 3, and 4 above contain or discuss information that has been designated

12   as “Highly Confidential – Attorneys’ Eyes Only” or “Highly Confidential Source Code –

13   Outside Attorneys’ Eyes Only” by Defendants Samsung Electronics Co., Ltd., Samsung

14   Electronics America, Inc., and Samsung Telecommunications America, LLC (collectively,

15   “Samsung”) and/or third party Google Inc. (“Google”) pursuant to the Protective Order entered

16   in this case, or is otherwise information that is believed to be deemed confidential by Samsung

17   or Google. Such confidential information has been highlighted in green in Apple’s Motion for

18   Partial Summary Judgment. Apple expects that Samsung and/or Google will file the required

19   supporting declarations in accordance with Civil Local Rule 79-5 as necessary in order to

20   confirm whether their information should be sealed.

21          The documents in item number 2, Exhibits D-1 and E-6 to the Rho Declaration, contain

22   and discuss Apple’s highly confidential and proprietary information, such as its proprietary

23   source code and detailed technical information regarding its products. Apple has established

24   compelling reasons to permit the filing of the above Apple confidential information under seal

25   through the Declarations of Cyndi Wheeler and Peter Kolovos filed in support of this

26   Administrative Motion to File Documents Under Seal, filed herewith.

27          Exhibit D-1

28          As further detailed in the Declaration of Cyndi Wheeler, the Apple confidential


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1    financial information referenced within Exhibit D-1 to the Rho Declaration includes discussion

2    of and actual excerpts from Apple’s highly proprietary source code. Wheeler Declaration at

3    ¶¶ 9-10. Apple provides its source code with the highest level of protection and security within

4    Apple, and, even within Apple, limits access to such source code to only select groups of

5    authorized Apple employees. Id. ¶¶ 3-7. Apple views its source code as highly proprietary,

6    extremely valuable, and one of its most protected assets, investing millions of dollars to

7    develop such source code. Id. ¶¶ 5-10.

8           As this Court has previously held, “[c]onfidential source code clearly meets the

9    definition of a trade secret” and is sealable under the “compelling reasons” standard. Apple,

10   Inc. v. Samsung Electronics Co., Ltd., Case No. 11-cv-1846, D.I. 2190 at 3 (Dec. 10, 2012),

11   D.I. 2046 at 3 (Oct. 16, 2012), D.I. 1649 at 8 (Aug. 9, 2012) (citing Agency Solutions.Com,

12   LLC v. TriZetto Group, Inc., 819 F. Supp. 2d 1001, 1017 (E.D. Cal. 2011). The source code

13   information at issue in this motion thus should be considered to be the type of information that

14   has been found by the courts to “outweigh the public’s interest and justify sealing court

15   records” under the Ninth Circuit’s “compelling reasons” standard, Kamakana v. City & Cnty. of

16   Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006), and was found by this Court to be sealable in

17   trial exhibits. Apple, Inc. v. Samsung Electronics Co., Ltd., Case No. 11-cv-1846, D.I. 2046 at

18   3 (Oct. 16, 2012), D.I. 1649 at 8 (Aug. 9, 2012). The specific Apple source code at issue here

19   is non-public, and its exposure would cause Apple to lose significant competitive advantage.

20   Id. ¶¶ 6-10. Indeed, even in this litigation, source code is treated with the utmost

21   confidentiality and additional restrictions regarding its protection were implemented. See D.I.

22   512 at ¶ 11. The ability to copy and otherwise learn Apple’s source code – including how

23   Apple implements particular feature and functionality of the software and otherwise designed

24   its suite of software – would give Apple’s competitors unfair competitive advantage and

25   undermine the investment that Apple has made in developing its source code – including the

26   source code for the client and server software product at issue here. Id. In particular, and as

27   explained in the Wheeler Declaration, Apple goes to significant lengths to protect its source

28   code, as the disclosure and copying of its source code by third parties would provide Apple’s


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1    competitors with an unfair competitive advantage and would undermine the independent

2    economic value that Apple derives from that source code. Wheeler Declaration ¶ 10.

3           The requested relief is thus necessary and narrowly tailored to protect the

4    confidentiality of Apple’s confidential information contained in Exhibit D-1 to the Rho

5    Declaration. Indeed, Apple is seeking not to seal its brief relying upon this exhibit, but rather

6    moving only to seal the very limited portions of the document – constituting less than one

7    percent of the underlying document – containing only very specific quotations from, citations

8    to, and discussions of Apple’s highly proprietary source code; Apple has not sought to seal any

9    information not specifically and closely tied to the source code contained in Exhibit D-1 to the

10   Rho Declaration. Such information - providing a few technical details about one of the

11   products discussed in the document – is not necessary for the public to understand the parties’

12   positions and the issues of the underlying brief. See, e.g., id.; Nixon v. Warner Commc’ns, Inc.,

13   435 U.S. 589, 597 (1978); Apple Inc. v. Psystar Corp., 658 F.3d 1150, 1162 (9th Cir. 2011)

14   (“The publication of materials that could result in infringement upon trade secrets has long

15   been considered a factor that would overcome this strong presumption.”); Apple Inc. v.

16   Samsung Electronics Co., Ltd., 2013 U.S. Dist. LEXIS 132915 (N.D. Cal. Sept. 11, 2013);

17   Network Appliance, Inc. v. Sun Microsystems Inc., No. C-07-06053 EDL, 2010 U.S. Dist.

18   LEXIS 21721, at *13-14 (N.D. Cal. Mar. 10, 2010) (sealing material that would “do little to aid

19   the public’s understanding of the judicial process,” but could cause a party “significant harm”).

20   For example, the purpose of Exhibit D-1 to the Rho Declaration in Apple’s Motion for

21   Summary Judgment is merely to illustrate Samsung and Dr. Rinard’s theory of invalidity. See

22   Apple’s Motion for Partial Summary Judgment. In using this exhibit, Apple does not address

23   the cited source code, and neither Apple nor Samsung require the cited source code in order to

24   understand Apple’s argument in its motion for partial summary judgment. The precise

25   contours of the source code quoted in the document are thus unnecessary to the public to

26   understand the issues in Apple’s motion for partial summary judgment.

27          Exhibit E-6

28          Exhibit E-6 to the Rho Declaration contains and discusses detailed technical


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1    information regarding the components and configuration for accused Apple products, including

2    information about the location and manner in which data is stored. This information is

3    highlighted in yellow. Apple has established compelling reasons to permit the filing of the

4    above Apple confidential information under seal through the Kolovos Declaration filed in

5    support of this Administrative Motion to File Documents Under Seal, filed herewith. As

6    further detailed in the Kolovos Declaration, the Apple confidential technical information

7    referenced within Exhibit E-6 to the Rho Declaration includes discussion of and actual excerpts

8    from Apple’s highly proprietary source code. Exhibit E-6 contains proprietary Apple

9    information and the public disclosure of this information would be harmful to Apple for similar

10   reasons as stated in the Declaration of Beth Kellermann in Support of Apple’s Motion to Seal

11   Trial Exhibits (Apple Inc. v. Samsung Electronics Co., Ltd., et al., Case No. 11-cv-01846 (N.D.

12   Cal.) (Dkt. No. 1504 at 3) (supporting sealing schematics showing the configuration of Apple’s

13   products because detailed information of this kind constitutes trade secret information)). The

14   Court has previously granted Apple’s request to seal product schematics that contain a similar

15   level of detail regarding the accused Apple products. See, e.g., Apple Inc. v. Samsung

16   Electronics Co., Ltd., et al., Case No. 11-cv-01846 (N.D. Cal.) (Dkt. No. 1649 at 8) (granting

17   Apple’s request to seal schematics related to the Apple iBook and iSight). Apple has not

18   included this information in its motion because it is not necessary for the motion. For this

19   reason, the public interest in this information is low. See Apple Inc. v. Samsung Electronics

20   Co., Ltd., et al., Case Nos. 2012-1600, 2012-1606, 2013-1146, 2013 WL 4487610, at *12 (Fed.

21   Cir. Aug. 23, 2013).

22          Exhibit E-6 to the Rho Declaration also contains or discusses information that has been

23   designated as “Highly Confidential – Attorneys’ Eyes Only” or “Highly Confidential Source

24   Code – Outside Attorneys’ Eyes Only” by Defendants Samsung Electronics Co., Ltd., Samsung

25   Electronics America, Inc., and Samsung Telecommunications America, LLC (collectively,

26   “Samsung”). Apple does not support the sealing of the information that is not highlighted in

27   this exhibit. Apple expects that Samsung will file the required supporting declarations in

28


     APPLE’S MOTION TO SEAL ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
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1    accordance with Civil Local Rule 79-5 as necessary in order to confirm whether its information

2    should be sealed.

3                                                  ***

4           Pursuant to General Order No. 62, the complete, unredacted versions of these

5    documents will be lodged with the Court for in camera review and served upon Samsung. The

6    Apple confidential information contained within item no. 2’s documents, Exhibits D-1 and E-6

7    to the Rho Declaration, has been highlighted in yellow. Further, in accordance with this

8    Court’s Civil Standing Order regarding Motions to File Under Seal, a proposed public redacted

9    version of Exhibit D-1 to the Rho Declaration, which contains only Apple’s confidential

10   information and of which Apple seeks to file portions under seal, as well as a proposed public

11   redacted version of Apple’s Motion for Partial Summary Judgment, will be publicly e-filed as

12   an attachments to this Motion to Seal.

13          Pursuant to Civil L.R. 7-11, Apple’s counsel met and conferred with Samsung’s counsel

14   regarding this motion. Samsung does not oppose Apple’s Administrative Motion to File

15   Documents Under Seal (Apple’s Motion for Partial Summary Judgment) as a procedural

16   mechanism for filing portions of Apple’s Motion for Partial Summary Judgment and supporting

17   documents under seal. Samsung reserves the right to challenge any proposed redactions to the

18   extent it believes those redactions improperly seal non-confidential information.

19          For the foregoing reasons, Apple respectfully requests sealing of the information

20   contained in:

21          1.       Portions of the confidential, unredacted version of Apple Inc.’s Motion for

22                   Partial Summary Judgment;

23          2.       Portions of the confidential, unredacted versions of Exhibits D-1 and E-6 to the

24                   Rho Declaration;

25          3.       Exhibits A-1, A-2, B-1, B-2, B-3, B-4, B-5, C-1, C-2, C-4, C-5, C-6, D-2, E-4,

26                   E-5, E-6, and E-7 to the Rho Declaration; and

27          4.       Exhibits 1 to 3 to the Cockburn Declaration.

28


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1    Dated: October 10, 2013                     GIBSON, DUNN & CRUTCHER LLP

2                                                By:          /s/ H. Mark Lyon
3                                                               H. Mark Lyon
                                                            Attorney for Apple Inc.
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     APPLE’S MOTION TO SEAL ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
     12-CV-00630-LHK (PSG)                            6
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1                                   CERTIFICATE OF SERVICE

2
            The undersigned hereby certifies that the foregoing document, and its supporting
3
     documents, were filed electronically in compliance with Civil Local Rule 5.1, and will be
4
     served upon all counsel of record for the parties who have consented to electronic service in
5
     accordance with Civil Local Rule 5.1 via the Court’s ECF system.
6

7    Dated: October 10, 2013                        /s/ H. Mark Lyon
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